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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                             Case No. 17-21559-Civ-TORRES


   MENUDO INTERNATIONAL, LLC,

                Plaintiff,

   v.

   IN MIAMI PRODUCTION, LLC
   a Florida LLC, MARIA CRISTINA
   BRAUN, an individual,

               Defendants.
   ______________________________________/

                 ORDER ON DEFENDANTS’ MOTION TO DISMISS

         This matter is before the Court on In Miami Production, LLC’s (“IMP”) and

   Christina Braun’s (“Ms. Braun”) (collectively, “Defendants”) motion to dismiss

   against Menudo International, LLC (“Plaintiff”). [D.E. 88]. Plaintiff responded on

   April 2, 2018 [D.E. 94] to which Defendants replied on April 9, 2018. [D.E. 99].

   Therefore, Defendants’ motion is now ripe for disposition.            After careful

   consideration of the motion, response, reply, relevant authority, and for the reasons

   discussed below, Defendants’ motion is GRANTED in part and DENIED in part.

                                 I.     BACKGROUND

         Plaintiff filed this action on April 26, 2017 for trademark infringement,

   unfair competition, false description under §§ 31 and 43 of the Lanham Act, 15

   U.S.C. §§ 1114(1) (trademark infringement) and §1125(a) (unfair competition and

   false description) for unfair business practices arising under Florida Statutes §§
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   495.131, 495.151 and for injuries to Plaintiff’s business reputation under the

   common law. [D.E. 1]. Plaintiff alleges that IMP1 sells related merchandise in

   violation of Plaintiff’s trademark and that Braun controls IMP’s infringing

   activities. As such, Plaintiff seeks immediate relief in the form of a preliminary

   injunction to preserve the status quo and to prevent irreparable harm pending a

   final determination on the merits of Plaintiff’s claims.

         The allegedly infringing trademark relates to a group of male performers that

   were former members of the internationally renowned Puerto Rican boy band called

   Menudo.    Producer Edgardo Diaz formed Menudo in the 1970s and the group

   released their first album in 1977.        The group enjoyed widespread success

   throughout the 1980s when Menudo appeared on television shows, films, and

   merchandise.     The band continued its success until the group released its final

   album in 1996.

         In 2014, IMP began working with former members of Menudo when they

   expressed their desire to return to a music career. In August 2015, Braun, the

   principal of IMP, met with Carlos Pimentel, who at the time allegedly claimed to be

   the owner of the Menudo trademarks. Both met and agreed to work on a licensing

   agreement so that IMP could use the Menudo trademark for upcoming concerts

   where thirteen of the thirty-seven former Menudo members would reunite and

   perform for their fans. While researching the history of the Menudo trademarks, it

   purportedly became clear to IMP and Braun that neither Mr. Pimentel nor Menudo

   1     IMP provides services for live musical groups, including artist management,
   development, booking, and promotions.
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   Entertainment had any authority to control the use of the Menudo trademarks. As

   a result, IMP reached no agreement with Mr. Pimentel or Menudo Entertainment

   regarding the Menudo trademarks.

         Since 2015, Plaintiff has marketed, distributed, and sold its good and services

   bearing the Menudo trademark. Yet, in that same year, IMP began to market and

   promote live performances by entertainers using the trademark without Plaintiff’s

   permission.   IMP has marketed and distributed t-shirts – and possibly other

   merchandise – containing a reference to the trademark to notify fans that Menudo

   has finally returned.   More specifically, IMP produced, promoted, and sold over

   eighteen concert events using the Menudo trademark and invested significant sums

   of money in promoting and developing these events.

         At some point in 2016, IMP applied to register the Menudo trademark with

   the Mexican trademark office. Shortly thereafter, Mr. Pimentel emailed Braun to

   express disapproval of the use of the Menudo name. On May 2, 2016, counsel for

   Big Bar Entertainment, an alleged predecessor of Plaintiff, sent a cease and desist

   letter. In October 2016, Plaintiff filed an opposition to IMP’s trademark application

   in Mexico.    And on March 28, 2017, IMP filed a petition to cancel Plaintiff’s

   registered trademark on the basis of fraud and Plaintiff’s trademark counsel sent

   IMP another demand letter with a copy of the complaint on April 26, 2017.

         On June 5, 2017, IMP filed its answer, including affirmative defenses and

   counterclaims. IMP claims that this lawsuit, and in particular Plaintiff’s motion for

   preliminary injunction, has no merit because Plaintiff is not using the Menudo


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   trademark in commerce whereas IMP has used the mark for over two years. Each

   of Plaintiff’s attempts to register the trademarks has allegedly been cancelled or

   pending on a mere intent to use basis. In sum, Plaintiff contends that the Menudo

   trademark has been in use since the 1970s and has been used continuously in

   commerce and by Plaintiff’s predecessors since 1995.

                II.    APPLICABLE LEGAL PRINCIPLES AND LAW

         In ruling on Defendants’ motions to dismiss, this Court takes the allegations

   in the complaint as true and construes the allegations “in the light most favorable

   to the plaintiffs.” Rivell v. Private Health Care Systems, Inc., 520 F.3d 1308, 1309

   (11th Cir. 2008) (citing Hoffman–Pugh v. Ramsey, 312 F.3d 1222, 1225 (11th Cir.

   2002)). “When considering a motion to dismiss, all facts set forth in [Plaintiff’s]

   complaint ‘are to be accepted as true and the court limits its consideration to the

   pleadings and exhibits attached thereto.’” Grossman v. Nationsbank, N.A., 225 F.3d

   1228, 1231 (11th Cir. 2000) (quoting GSW, Inc. v. Long Cnty., 999 F.2d 1508, 1510

   (11th Cir. 1993)). A motion to dismiss under Rule 12(b)(6) “is granted only when

   the movant demonstrates that the complaint has failed to include ‘enough facts to

   state a claim to relief that is plausible on its face.’” Dusek v. JPMorgan Chase &

   Co., 832 F.3d 1243, 1246 (11th Cir. 2016) (quoting Bell Atl. Corp. v. Twombly, 550

   U.S. 544, 570 (2007)).

         “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not

   need detailed factual allegations, a plaintiff’s obligation to provide the grounds of

   his entitle[ment] to relief requires more than labels and conclusions . . . .”


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   Twombly, 550 U.S. at 555 (internal citations and quotations omitted) (alteration in

   original).    “To survive a motion to dismiss, a complaint must contain sufficient

   factual matter . . . .” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A complaint does

   not     suffice   “if    it   tenders   ‘naked   assertion[s]’   devoid   of   ‘further   factual

   enhancement.’” Id. (quoting Twombly, 550 U.S. at 557) (alteration in original).

   Factual content gives a claim facial plausibility. Id. “[A] court’s duty to liberally

   construe a plaintiff’s complaint in the face of a motion to dismiss is not the

   equivalent of a duty to re-write it for [the plaintiff].” Peterson v. Atlanta Hous.

   Auth., 998 F.2d 904, 912 (11th Cir. 1993).

                                           III.     ANALYSIS

            On March 2, 2018, we granted Defendants’ first motion to dismiss without

   prejudice on the basis that Plaintiff failed to allege in its first amended complaint

   (“FAC”) all the required elements in support of count 6 (common law injury to

   business reputation), count 7 (tortious interference with a contractual business

   relationship), and count 8 (tortious interference with advantageous business

   relationships).         [D.E. 80].   On March 6, 2018, Plaintiff filed a second amended

   complaint (“SAC”) [D.E. 81] and Defendants filed this second motion to dismiss on

   March 20, 2018. [D.E. 88]. Defendants argue that Plaintiff (1) fails to allege that

   Defendants’ conduct was unjustified and (2) fails to allege that Plaintiff suffered an

   injury to its business representation. We will consider the parties’ arguments in

   turn.




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         A.     Tortious Interference of a Business Relationship

         Defendants’ first argument is that counts 7 and 8 must be dismissed because

   the SAC fails to allege that Defendants’ conduct was unjustified, which is a required

   element for a claim premised on tortious interference. Defendants acknowledge

   that Plaintiff included two additional allegations2 in the SAC as an attempt to

   remedy the deficiencies in the FAC. But, Defendants argue that counts 7 and 8

   must be dismissed again because the allegations are far too conclusory and do not

   comply with the pleading requirements set forth under Rule 8. To state a claim for

   tortious interference, Defendants suggest that Plaintiff must allege sufficient facts

   that Defendants’ actions were unjustified. See, e.g., Alticor Inc. v. UMG Recordings,

   Inc., 2015 WL 736346, at *2 (M.D. Fla. Feb. 20, 2015) (citing Mattocks v. Black

   Entm’t Television LLC, 2014 WL 4101594, at *5–6 (S.D. Fla. Aug. 20, 2014) (Salit

   v. Ruden, McClosky, Smith, Schuster & Russell, P.A., 742 So. 2d 381, 386 (Fla. 4th

   DCA 1999)). Because Plaintiff has only presented conclusory allegations in support

   of its claim that Defendants’ actions were unjustified, Defendants argue that counts

   7 and 8 must be dismissed.

         Plaintiff takes issue with Defendants’ argument because Plaintiff explicitly

   stated in the SAC that Defendants’ actions were unjustified and that Defendants

   were a stranger to the business relationship with Trading Connections. As such,




   2      Plaintiff’s new allegations are that “Defendants are strangers to the business
   relationship between Trading Connections and the Plaintiff,” and (2) that
   Defendants’ conduct was “unwarranted” and “without a legal basis.” [D.E. 81].
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   Plaintiff believes that it has alleged all the elements of a tortious interference claim

   and that Defendants’ motion must be denied.

         Under Florida law, “[t]he elements of tortious interference with a contract or

   business relationship are: (1) the existence of a business relationship, not

   necessarily evidenced by an enforceable contract, under which the plaintiff has legal

   rights; (2) the defendant’s knowledge of the relationship; (3) an intentional and

   unjustified interference with the relationship by the defendant; and (4) damage to

   the plaintiff as a result of the interference.”    Salit v. Ruden, McClosky, Smith,

   Schuster & Russell, P.A., 742 So. 2d 381, 385–86 (Fla. 4th DCA 1999) (citing

   Tamiami Trail Tours, Inc. v. Cotton, 463 So. 2d 1126, 1127 (Fla. 1985); Procacci v.

   Zacco, 402 So. 2d 425, 426 (Fla. 4th DCA 1981); Linafelt v. Bev, Inc., 662 So. 2d 986,

   989 (Fla. 1st DCA 1995)).

         With respect to the third element, the general rule is that “[f]or the

   interference to be unjustified, the interfering defendant must be a third party, a

   stranger to the business relationship.” Salit, 742 So. 2d 381, 385–86 (emphasis

   added) (citing Abruzzo v. Haller, 603 So. 2d 1338 (Fla. 1st DCA 1992); O.E. Smith’s

   Sons, Inc. v. George, 545 So. 2d 298, 299 (Fla. 1st DCA 1989); West v.

   Troelstrup, 367 So. 2d 253, 255 (Fla. 1st DCA 1979)). “A defendant is not a stranger

   to a business or contractual relationship if the defendant ‘has any beneficial or

   economic interest in, or control over, that relationship.”’ Nimbus Techs., Inc. v.

   SunnData Prod., Inc., 484 F.3d 1305, 1309 (11th Cir. 2007) (quoting Tom’s Foods,

   Inc. v. Carn, 896 So. 2d 443, 454 (Ala. 2004)); see also Waddell & Reed, Inc. v.


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   United Investors Life Ins. Co.,875 So. 2d 1143, 1157 (Ala. 2003) (“One cannot be

   guilty of interference with a contract even if one is not a party to the contract so

   long as one is a participant in a business relationship arising from interwoven

   contractual arrangements that include the contract.”).        These allegations are

   essential because “the contractual interests that tortious interference is intended to

   protect include the interests of the third-party with respect to the contract.” Palm

   Beach Cty. Health Care Dist. v. Prof’l Med. Educ., Inc., 13 So. 3d 1090, 1095 (Fla.

   4th DCA 2009) (emphasis in original) (citing 2 Dan B. Dobbs, The Law of Torts, §

   449 (2001); Restatement (Second) of Torts § 769 (1979)). In other words, a tortious

   interference claim cannot ordinarily survive if an interested third party is accused

   of “‘interfering’ with its own interests.” Palm Beach Cty. Health Care Dist., 13 So.

   3d at 1095. Otherwise, the alleged conduct is not interference at all – it is merely

   freedom of contract. See id.

         Here, Plaintiff alleges in paragraphs 49 and 56 of the SAC that “Defendants’

   actions . . . are unjustified, unwarranted, and without legal basis.” [D.E. 81 at ¶¶

   49, 56].3 These allegations – when joined with the rest of the allegations in SAC –

   are enough to state a claim for tortious interference because they suggest that

   Defendants were engaging in improper means when they contacted Trading

   Connections in July 2017. For example, Plaintiff alleges that Defendants falsely

   claimed to Trading Connections that Plaintiff did not own the Menudo trademark.



   3      Plaintiff also clarifies for the first time in the SAC that “Defendants are
   strangers to the business relationship between Plaintiff and Trading Connections.”
   [D.E. 81 at ¶¶ 43, 52].
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   Plaintiff then alleges that on July 11, 2017, Defendants communicated with Trading

   Connections to claim that Plaintiff did not own exclusive rights to the Menudo

   trademark and that the parties were violating Defendants’ rights.4 Therefore, when

   the SAC is read in conjunction with Plaintiff’s additional allegations, all the

   elements of a tortious interference claim are present because (1) Defendants were

   “strangers to the business relationship with Trading Connections”, (2) Defendants

   “falsely claim[ed] that Plaintiff did not own the trademark to Menudo,” (3)

   Defendants “intended to induce a breach or disruption” of Plaintiffs’ contract, and

   (4) Defendants’ actions were “unjustified, unwarranted, and without legal basis.”

   [D.E. 81 at ¶¶ 43, 46, 47].

         We note that – while Plaintiff could have been clearer and included many

   more allegations in support of its tortious interference claim – the SAC provides just

   enough plausible inferences that Defendants were engaging in improper means in

   their communications with Trading Connections.         And while Plaintiff did not

   explicitly claim that Defendants were engaging in improper means, it is clear that

   the gravamen of Plaintiff’s allegations is that Defendants made false statements

   with a malicious motive to induce a breach of contract.   5   Plaintiff need not allege

   anything more at the pleading stage to survive a motion to dismiss. See KMS Rest.

   4     Plaintiff also claims that Defendants demanded that Trading Connections
   cease-and-desist all activities.

   5     Improper means includes physical violence, misrepresentations, intimidation,
   conspiratorial conduct, illegal conduct and threats of illegal conduct. See G.M. Brod
   & Co. v. U.S. Home Corp., 759 F.2d 1526 (11th Cir. 1985); Morsani v. Major League
   Baseball, 663 So.2d 653 (Fla. 2d DCA 1995); Fla. Std. Jury Instructions in Civil
   Cases § 408.6 (2010).
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   Corp. v. Wendy’s Int’l, Inc., 361 F.3d 1321, 1327 (11th Cir. 2004) (“[A] tortious

   interference claim may succeed if improper methods were used.”) (citation omitted);

   see also Metzler v. Bear Auto. Serv. Equip. Co., 19 F. Supp. 2d 1345, 1364 (S.D. Fla.

   1998) (“As long as no improper means are employed, business activities taken to

   safeguard or promote one’s own financial interests are not actionable.”) (citing Ethyl

   Corp. v. Balter, 386 So. 2d 1220, 1225 (Fla. 3d DCA 1980); Perez v. Rivero, 534 So.

   2d 914, 916 (Fla. 3d DCA 1988)). Therefore, we conclude that Plaintiff has alleged

   enough factual allegations that Defendants’ actions were unjustified and therefore

   Defendants’ motion to dismiss counts 7 and 8 is DENIED.

         B.     Injury to Business Reputation

         Defendants’ second argument is that count 6 must be dismissed because

   Plaintiff failed to allege an injury to its business reputation. First, Defendants

   argue that, under Florida law, an injury to business reputation requires some proof

   that the use of a trademark decreases the plaintiff’s commercial value. Second,

   Defendants contend that count 6 pleads no facts supporting a conclusion that an

   injury has occurred in this case and that Plaintiff improperly speculates that harm

   may occur in the future. See Fla. Stat. § 495.151. And third, Defendants claim that

   Plaintiff failed to amend count 6 after the Court’s prior Order – meaning the

   allegations should be dismissed for the same reasons. Because count 6 in the SAC

   is completely identical to the FAC and therefore suffers from the same deficiencies

   previously identified, Defendants conclude that it must be dismissed.




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         In response, Plaintiff suggests that Defendants arguments are misplaced

   because the SAC – specifically in paragraph 39 – alleges that Plaintiff’s commercial

   value has decreased as a result of Defendants’ misconduct. Plaintiff also argues

   that the cases that Defendants rely upon are distinguishable because they consider

   the sufficiency of the evidence presented at trial – not the adequacy of the

   pleadings. Because this case is only at the motion to dismiss stage and the Court

   must accept as true the allegations presented in the SAC, Plaintiff concludes that

   Defendants’ motion to dismiss count 6 must be denied.

         Section 495.151 – commonly referred to as the Florida Dilution Act – is the

   controlling statute for an injury to one’s business reputation:

         The owner of a mark that is famous in this state shall be entitled,
         subject to the principles of equity and upon such terms as the court
         deems reasonable, to an injunction and to obtain such other relief
         against another person’s commercial use of a mark or trade name if
         such use begins after the mark has become famous and is likely to
         cause dilution of the distinctive quality of the famous mark, as
         provided in this section.

   Fla. Stat. § 495.151.

         “A violation of the dilution statute may be based on either (1) a likelihood of

   injury to the business reputation or (2) a dilution of the distinctive quality of the

   trade name of the prior user.” Sakura Japanese Steakhouse Inc. v. Lin Yan, Inc.,

   827 So. 2d 1105, 1107 (Fla. 2d DCA 2002) (citing Tortoise Island Homeowners Ass’n

   v. Tortoise Island Realty, Inc., 790 So. 2d 525 (Fla. 5th DCA 2001); Great S. Bank v.

   First S. Bank, 625 So. 2d 463, 470 (Fla. 1993)). “The elements of a violation of

   section 495.151, are ‘(1) the adoption and use of a trademark, (2) subsequent use by


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   another of a similar mark, and (3) causing a likelihood of injury to business

   reputation or of dilution of the distinctive quality of the mark . . . notwithstanding

   the absence of competition between the parties or of confusion as to the source of

   goods or services.” Bluestar Entm’t Int’l, Inc. v. Cooper, 2008 WL 11333068, at *4

   (S.D. Fla. July 18, 2008) (citing E.R. Squibb & Sons, Inc. v. Princeton Pharm., Inc.,

   1990 WL 272707, at *10 (S.D. Fla. Sept. 4, 1990)).

         Here, Plaintiff meets the first element for an injury to business reputation

   because the complaint alleges that Plaintiff owns and uses the trademark in

   question and that it markets, distributes, and sells various goods and services

   bearing the mark.     However, Plaintiff fails again to meet the second element

   because – similar to the FAC – the SAC continues to allege that Defendants used

   the same mark, not a similar mark. This allegation is improper because Fla. Stat. §

   495.151 is limited to the use of similar marks. See, e.g., Bluestar Entm’t Int’l, Inc.,

   2008 WL 11333068, at *4 (“Bluestar has not stated that Cooper has used a similar

   mark; it alleges that Cooper used the same mark. A claim of dilution under state

   law requires the ‘use by another of a similar mark.’ Therefore, the Court dismisses

   this count without prejudice.”); see also Tally-Ho, Inc. v. Coast Cmty. Coll. Dist., 889

   F.2d 1018, 1024 (11th Cir. 1989) (“This provision permits any trademark owner,

   whether registered or unregistered, to prohibit either a non-competitor’s or

   competitor’s use of a similar mark if there is a likelihood of injury to business

   reputation or dilution of the mark’s distinctive quality.”) (emphasis added); Rain

   Bird Corp. v. Taylor, 665 F. Supp. 2d 1258, 1267 (N.D. Fla. 2009) (same). Because


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   Plaintiff’s allegations involve Defendants’ use of the same Menudo trademark,

   Plaintiffs cannot pursue a cause of action under Fla. Stat. § 495.151.

         Plaintiff’s arguments in support of count 6 are therefore misplaced because

   Plaintiff failed to amend any portion of its allegations when compared to its prior

   complaint. In other words, the allegations in count 6 are identical in every respect

   between the FAC and the SAC. And although Plaintiff argues that Defendants’

   cases are inapposite, Plaintiff noticeably avoids any discussion on how it can allege

   an injury to business reputation when Fla. Stat. § 495.151 is limited to the use of

   similar marks. As the Eleventh Circuit explained in Tally-Ho, Florida law provides

   a remedy when an infringer uses the same mark, but that remedy does not include

   a business to injury reputation:

         At common law, a trademark was intended to differentiate between
         different sources of competing goods. Thus, an infringement action is
         based on the likelihood of consumer confusion between suppliers of
         competing goods in the same geographic locale. In contrast, a dilution
         action is based on the concept that a strong trademark has value
         beyond its ability to distinguish a good or service’s source. A strong,
         distinctive trademark may become a symbol of consumer loyalty and
         goodwill rather than merely an indicator of supplier identity. A
         dilution action protects the owners of such strong, distinctive marks
         from the diminution of consumer goodwill by competitors or non-
         competitors. Thus, dilution analysis is fundamentally different from
         infringement analysis; the former focuses on the dilution of a mark’s
         distinctive quality while the latter focuses on the likelihood of
         consumer confusion. In addition, a dilution action eliminates the
         requirement of competition; an infringement action does not.

   Tally-Ho, Inc., 889 F.2d at 1024.

         This means that, if Defendants improperly used the same mark, trademark

   infringement – rather than an injury to business reputation – is the more


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   appropriate avenue for relief.6 And count 5 of the complaint raises that precise

   claim based on infringement of the same mark. Because Plaintiff’s allegations fail

   to meet the second element under Fla. Stat. § 495.151 and Plaintiff failed to amend

   any portion of count 6 after being granted leave to do so, Defendants’ motion to

   dismiss is GRANTED with prejudice.

                                  IV.    CONCLUSION

         For the foregoing reasons, it is hereby ORDERED AND ADJUDGED that:

         A. Defendants’ motion to dismiss counts 7 and 8 is DENIED.

         B. Defendants’ motion to dismiss count 6 is GRANTED with prejudice.

         C. Defendants’ motion to strike the amendments in count 4 is DENIED.7




   6      Allegations that a defendant used virtually identical – yet slightly different –
   marks would have been sufficient to state a claim for relief. See, e.g., Nguyen v.
   Biondo, 2012 WL 12862799, at *10 (S.D. Fla. June 15, 2012) (“Defendants’ use of
   the mark is likely to cause dilution because Defendants are using a virtually-
   identical trade name and service mark to promote the Wellington Tipsy.”).

   7      Defendants argued in a footnote that Plaintiff made amendments to count 4
   without leave of Court and that the revised allegations should be stricken under
   Rule 12(f). But, striking a portion of a pleading is considered to be a “drastic
   remedy to be resorted to only when required for the purposes of justice.” Exhibit
   Icons, LLC v. XP Cos., 609 F. Supp. 2d 1282, 1300 (S.D. Fla. 2009). Given that
   Defendants have failed to articulate a substantive reason on why the amendments
   should be stricken coupled with the fact that we granted Plaintiff leave to file an
   amended complaint, Defendants’ motion to strike the revised allegations in count 4
   is DENIED. See Microsoft Corp. v. Jesse's Computers & Repair, Inc., 211 F.R.D.
   681, 683 (M.D. Fla. 2002) (“District courts have broad discretion in disposing of
   motions to strike under Fed. R. Civ. P. 12(f).”) (citation omitted).
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         DONE AND ORDERED in Chambers at Miami, Florida, this 11th day of

   April, 2018.

                                             /s/ Edwin G. Torres
                                             EDWIN G. TORRES
                                             United States Magistrate Judge




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